
*80By
the Court.
It would be establishing a very bad precedent, to suffer this plea to be added, after so long a delay has taken place in the cause. But whatever inclination I might have to permit the addition on the grounds that have been stated, the case cited from 2 Wils, is too strong to be resisted : there the addition of the statute of limitations was denied, because it was not a plea to the merits. The plea now offered is exposed to that, as well as to this further objection, that the act of 1715, contains no exceptions as to infants, feme coverts, &amp;c. differing in this respect from all other acts of limitations. As this act therefore would bar all persons, upon whose demands the time had run, whatever disabilities they might be under, arguments against the plea of the statute apply a fortiori to this case.
Motion denied.*

 Vide Bos. and Puller’s Rep.

